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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE

                    Plaintiff,
                                                  15 Civ. 7433 (LAP)
-against-
                                                         ORDER
GHISLAINE MAXWELL,

                    Defendant.


LORETTA A. PRESKA, Senior United States District Judge:

     The Court is in receipt of non-party John Doe’s letter dated

September 22, 2020, opposing the Government of the United States

Virgin   Islands’   (the   “USVI”)       Motion   to   Intervene   and   for

Confidential Access to Judicial Records and Discovery Documents.

(See dkt. no. 1119.)    The USVI was originally ordered to reply to

a separate opposition filed by Defendant Ghislaine Maxwell no later

than September 23, 2020. (Dkt. no. 1112.)              In order to provide

the USVI with adequate time also to address the points raised in

John Doe’s filing in that reply memorandum, the deadline for the

USVI to file reply papers is extended to September 25, 2020.

SO ORDERED.

Dated:      New York, New York
            September 22, 2020


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LORETTA A. PRESKA
Senior United States District Judge



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